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                             ITERATIVE CAPITAL, L.P.

                                  SUBSCRIPTION AGREEMENT

Iterative Capital, L.P.
226 East 54th Street, 2nd Floor
New York, NY I 0022

Ladies and Gentlemen:

1.       Documents Received

        (a)    The undersigned (the "Subscriber") hereby acknowledges having (i) received,
read and understood the current Confidential Private Placement Memorandum, as supplemented
(the "Private Placement Memorandum"), of Iterative Capital, L.P., a limited partnership
organized under the laws of the State of Delaware (the "Fund''), including but not limited to
those sections dealing with risk factors, conflicts of interest, fees and tax consequences of an
investment in the Fund, and the Limited Partnership Agreement of the Fund, as amended to date
(the "Partnership Agreement"), and (ii) been given the opportunity to (A) ask questions of, and
receive answers from, Iterative Capital GP, L.L.C., the general partner of the Fund (the "General
Partner") or one of its affiliates, including Iterative Capital Management, L.P., the investment
manager of the Fund (the "Investment Manager"), concerning the terms and conditions of the
offering and other matters pertaining to an investment in the Fund and (B) obtain any additional
information that the General Partner and/or the Investment Manager can acquire without
unreasonable effort or expense that is necessary to evaluate the merits and risks of an investment
in the Fund, including, without limitation, a copy of the amended and restated exempted limited
partnership agreement of Iterative Capital Master, L.P. (the "Strategic Master Fund''), as may
be amended and restated from time to time (the "Strategic Master Fund Partnership
Agreemenf'), and the amended and restated limited partnership agreement of Iterative Mining
Master, L.P. (the "Mining Master Fund''), as may be amended and restated from time to time
(the "Mining Master Fund Partnership Agreemenf').

       (b)     Appendix A hereto contains the definitions of certain capitalized terms used but
not otherwise defined herein and should be read by the Subscriber prior to entering into this
subscription agreement (this "Subscription Agreemenf').

2.       Subscription Commitment

        (a)     The Subscriber hereby irrevocably subscribes for a limited partner interest in the
Fund (the "Interesf'), subject to the Partnership Agreement, and agrees to contribute in cash
(unless otherwise agreed by the General Partner) to the capital of the Fund, the amount set forth
on the signature page of this Subscription Agreement. Such amount will be payable in full in
readily available funds by wire transfer to the bank account of the Fund on or before the business
day prior to the proposed date of subscription.

       ·(b)    The Subscriber understands that this subscription is not binding on the Fund until
accepted by the General Partner, and it may be rejected, in whole or in part, by the General
Partner in its absolute discretion. If and to the extent rejected, the Fund will, to the extent
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permitted by law, return to the Subscriber, without interest or deduction, any payment tendered
by the Subscriber, and the Fund and the Subscriber will have no further obligation to each other
hereunder. The Subscriber acknowledges and accepts that none of the Fund, the General Partner,
the Investment Manager, MG Stover & Co., the Fund's administrator (the "Administrator,"
which term will be construed to include any sub:administrator of the Fund unless the context
otherwise requires) or their respective agents, affiliates or representatives will be responsible for
any lost profit, revenue or damages of any kind due to a delayed acceptance or a rejection of the
subscription.

3.      Representations, Warranties and Covenants -All Subscribers

        To induce the Fund to accept this subscription, the Subscriber hereby makes the
following representations, warranties and covenants to the Fund and the Fund's general and
limited partners:

        (a)    The information set forth in the subscriber information form attached hereto (the
"Subscriber Information Form"), which will be considered an integral part of this Subscription
Agreement, is true, correct, accurate and complete as of the date hereof, and will be relied upon
by the Fund and the General Partner for the purpose of determining the eligibility of the
Subscriber to purchase and own Interests in the Fund.

         (b)     The Subscriber hereby agrees to notify the General Partner or the Administrator
immediately if any representation, warranty or tax certification contained in this Subscription
Agreement, or any information provided pursuant to the Subscriber Information Form or
otherwise (including, without limitation, information in any Internal Revenue Service ("IRS")
Form(s) W-8 or W-9) becomes untrue, misleading, or otherwise requires updating at any time.
For so long as the Subscriber is a limited partner of the Fund, the Subscriber further agrees to
provide any revised or updated information necessary to cause the Subscriber Information Form
to remain true and correct as soon as practicable upon the Subscriber becoming aware that any
such change or revision is necessary. The Subscriber agrees to provide, if requested, any
additional information and representations that may reasonably be required to substantiate the
Subscriber's status as an "accredited investor" or to otherwise determine the eligibility of the
Subscriber to purchase Interests and reconfirm the persons' tax status, including but not limited
to (i) financial statements, tax returns, bank and brokerage statements and similar documentation,
or (ii) a verification of accredited investor status by a third party verification agent that is
acceptable to the General Partner. If the Subscriber's interest is or will at any time in the future
constitute more than 15 percent in interest of the Fund's voting securities, the Subscriber agrees
to complete a separate questionnaire regarding any convictions, judgments, suspensions, bars or
orders relating to securities offerings, commodity futures business or certain other businesses.
Such questionnaire and the information and representations otherwise provided under this
Section shall form a part of this document and shall be subject to, among other things, the
indemnification provisions and the duty to update information contained in this Subscription
Agreement. The Subscriber agrees to provide any additional information and execute any
additional documents as may reasonably be required in connection with any subscription, credit
facility or other similar borrowing arrangement by the Fund or any lender named in the credit
facility or similar lending arrangement.



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        (c)   The Subscriber consents to the disclosure of any such information by the Fund,
the General Partner, the Administrator and the Investment Manager, and any other information
furnished to the Fund, to each other, to any affiliate, to any other service provider, to any
governmental authority or self-regulatory organization or, to the extent required by law or
deemed (subject to applicable law) by the General Partner to be in the best interest of the Fund,
to any other person or as required by any laws, rules, regulations and ordinances to which the
Fund, the General Partner or the Investment Manager is subject.

       (d)     Except as disclosed in the accompanying Subscriber Information Form, the
Subscriber is acquiring the Interest for the Subscriber's own account; does not have any contract,
undertaking or arrangement with any person or entity to sell, transfer or grant a participation with
respect to any of the Interest; and is not acquiring the Interest with a view to or for sale in
connection with any distribution of the Interest.

       (e)     The Subscriber or an advisor or consultant relied upon by the Subscriber in
reaching a decision to subscribe has such knowledge and experience in financial, tax, regulatory
and business matters as to enable the Subscriber or such advisor or consultant to evaluate the
merits and risks of an investment in the Interest (including the risks set forth in the Private
Placement Memorandum) and to make an informed investment decision with respect thereto and
has made its own investment decision, including decisions regarding suitability based on its own
judgment or upon the advice from such advisors as it deemed necessary and not upon the views
or advice of the Fund, the General Partner, the Investment Manager, or their affiliates or
representatives.

        (f)    The Subscriber understands that the Interests have not been and will not be
registered under the U.S. Securities Act of 1933, as amended (the "Securities Acf'), or any state
law and that the Fund is not registered under the U.S. Investment Company Act of 1940, as
amended (the "Investment Company Act"), The Subscriber agrees to notify the Fund prior to
any proposed sale, transfer, distribution or other disposition of the Interest or any beneficial
interest therein, and will not sell, transfer, distribute or otherwise dispose of the Interest
(including, without limitation, by pledge, option, swap or nominee or similar relationship, and
further including, without limitation, the offering or listing of any Interest on or through any
placement agent, intermediary, online service, site, agent or other similar person, service or
entity) without the consent of the General Partner, which may be granted or withheld in its sole
discretion, and unless the Interests are registered or such sale, transfer, distribution or other
disposition is exempt from registration. The Subscriber understands that any such transfers
without the consent of the General Partner are void ab initio. The Subscriber also understands
that the Fund has no intention to register the Fund or the Interests with the Securities and
Exchange Commission or any state and is under no obligation to assist the Subscriber in
obtaining or complying with any exemption from registration. The Fund may require that a
proposed transferee meet appropriate financial and other suitability standards and that the
transferor furnish a legal opinion satisfactory to the Fund and its counsel that the proposed
transfer complies with applicable federal, state and any other applicable securities laws. An
appropriate legend evidencing such restrictions may be placed on any certificates issued
representing the Interests and appropriate stop-transfer instructions may be placed with respect to
the Interests.



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       (g)     In formulating a decision to invest in the Fund, the Subscriber has not relied or
acted on the basis of any representations or other information purported to be given on behalf of
the Fund, the Investment Manager or the General Partner, except as set forth in the Private
Placement Memorandum or the Partnership Agreement (it being understood that no person has
been authorized by the Fund, the Investment Manager or the General Partner to furnish any such
representations or other information).

        (h)    The Subscriber recognizes that there is not now any secondary market for
Interests and that such a market is not expected to develop; accordingly, it may not be possible
for the Subscriber to readily liquidate the Subscriber's investment in the Fund other than through
a withdrawal from the Fund as provided in the Partnership Agreement and the Subscriber may be
holding such Interests for an indefinite period of time.

         (i)      The Subscriber did not become interested in subscribing for an Interest due to
(1) any advertisement, article, notice or other communication published in any newspaper,
magazine, internet website or similar media or broadcast over television or radio or (2) any
seminar or meeting whose attendees have been invited through general solicitation or general
advertising.

       (j)     The Subscriber understands the investment objectives and policies of, and the
investment strategies that may be pursued by, the Fund, generally through the Strategic Master
Fund and the Mining Master Fund. The Subscriber's investment is consistent with the
investment purposes and objectives and cash flow requirements of the Subscriber and will not
adversely affect the Subscriber's overall need for diversification and liquidity.

       (k)     The Subscriber has the financial ability to bear the economic risk of this
investment, has adequate means to provide for its current needs and contingencies, can afford a
complete Joss of its investment in the Fund and can afford to hold its investment in the Fund for
an indefinite period of time.

       (I)     If the Subscriber is a natural person, the Subscriber is qualified to become a
limited partner in the Fund and has the legal capacity to execute, deliver and perform this
Subscription Agreement and the Partnership Agreement.

        (m)      If the Subscriber is a corporation, partnership, limited liability company, trust or
other entity, it is authorized and qualified to become a limited partner in, and authorized to make
its capital contribution to, the Fund and otherwise to comply with its obligations under the
Partnership Agreement; the person signing this Subscription Agreement on behalf of such entity
has been duly authorized by such entity to do so; and this Subscription Agreement has been duly
executed and delivered on behalf of the Subscriber and is the valid and binding agreement of the
Subscriber, enforceable against the Subscriber in accordance with its terms. In addition, such
Subscriber will, upon request of the General Partner, deliver any documents, including an
opinion of counsel to the Subscriber, evidencing the existence of the Subscriber, the legality of
an investment in the Fund and the authority of the person executing this Subscription Agreement
on behalf of the Subscriber.

       (n)    The purchase of the Interests hereunder and the compliance by such Subscriber
with all of the provisions of this Subscription Agreement and the Partnership Agreement

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applicable to such Subscriber and the consummation by such Subscriber of the· transactions
herein and therein contemplated will not (x) conflict with or result in a breach or violation of any
of the terms or provisions of, or constitute a default under, any statute, indenture, mortgage, deed
of trust, loan agreement or other agreement or instrument to which such Subscriber is a party or
by which such Subscriber is bound or to which any of the property or assets of such Subscriber is
subject, or (y) result in any violation of (i), if such Subscriber is an entity, the provisions of the
organizational documents of such Subscriber or (ii) any statute applicable to such Subscriber or
any order, rule or regulation of any court or governmental agency or body having jurisdiction
over such Subscriber or the property of such Subscriber.

        (o)     The Subscriber has carefully reviewed and understands the various risks of an
investment in the Fund, as well as the fees and other compensation and the conflicts of interest to
which the Fund is subject, as set forth in the Private Placement Memorandum. The Subscriber
hereby consents and agrees to the payment of the fees and other compensation so described to
the parties identified as the recipients thereof, and to such conflicts of interest.

         (p)    The Subscriber believes that the compensation terms of the Partnership
Agreement, the Strategic Master Fund Partnership Agreement and the Mining Master Fund
Partnership Agreement represent an "arm's-length" arrangement and the Subscriber is satisfied
that it has received adequate disclosure from the General Partner to enable it to understand and
evaluate the compensation and other terms of the Partnership Agreement, the Strategic Master
Fund Partnership Agreement and the Mining Master Fund Partnership Agreement and the risks
associated therewith.

       (q)    The Subscriber represents and warrants that neither it nor any direct or indirect
holder of any beneficial interest in the Subscriber's Interest (each a "Beneficial Interest
Holder') and, in the case of a Subscriber which is an entity, no Related Person is:

                  (1)       A person or entity whose name appears on the List of Specially
                            Designated Nationals and Blocked Persons maintained by the Office of
                            Foreign Asset Control from time to time;

                  (2)       A Foreign Shell Bank; or

                  (3)       A person or entity resident in or whose subscription funds are transferred
                            from or through an account in a Non-Cooperative Jurisdiction.

      The Subscriber agrees to promptly notify the General Partner or the person appointed by
the General Partner to administer the Fund's anti-money laundering program of any change in
information affecting this representation and covenant.

       (r)      The Subscriber represents that (except as otherwise disclosed to the General
Partner in writing):

                  (1)       neither it, any Beneficial Interest Holder nor any Related Person (in the
                            case of a Subscriber that is an entity) is a Senior Foreign Political Figure,
                            any member of a Senior Foreign Political Figure's Immediate Family or
                            any Close Associate of a Senior Foreign Political Figure;

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                (2)       neither it, any Beneficial Interest Holder nor any Related Person (in the
                          case of a Subscriber that is an entity) is resident in, or organized or
                          chartered under the laws of, a jurisdiction that has been designated by the
                          Secretary of the Treasury under Section 311 or 312 of the USA PATRIOT
                          Act as warranting special measures due to money laundering concerns; 12
                          and

                (3)       its subscription funds do not originate from, nor will they be routed
                          through, an account maintained at a Foreign Shell Bank, an "offshore
                          bank," or a bank organized or chartered under the laws of a Non-
                          Cooperative Jurisdiction.

        (s)    The Subscriber acknowledges and agrees that any amounts paid to it will be paid
to the same account from which its subscription funds were originally remitted, or, if the General
Partner agrees otherwise, to another account in the name of the Subscriber.

        (t)   If the Subscriber is purchasing the Interest as agent, representative or
intermediary/nominee, or in any similar capacity for any other person, or is otherwise requested
to do so by the General Partner, it will provide a copy of its anti-money laundering policies
("AML Policies") to the General Partner. The Subscriber represents that (i) it is in compliance
with its AML Policies, (ii) its AML Policies have been approved by counsel or internal
compliance personnel who have been reasonably informed of the legal requirements and best
practices for anti-money laundering policies and their implementation, and (iii) it has not
received a deficiency letter, negative report or any similar determination regarding its AML
Policies from independent accountants, internal auditors or some other person responsible for
reviewing compliance with its AML Policies.

        (u)    The Subscriber represents and warrants that as a result of its acquisition and
holding of an Interest: (i) the assets of the Fund will not constitute the assets of any employee
benefit plan subject to any U.S. federal, state, local or non-U .S. law, rule or regulations ("Similar
Law") that is similar to, but is not, (A) the U.S. Employee Retirement Income Security Act of
1974, as amended ("ERISA"), or (B) Section 4975 of the U.S. Internal Revenue Code of 1986,
as amended (the "Code"); (ii) neither the General Partner nor the Investment Manager will be
considered to be a fiduciary of the Subscriber under any Similar Law; and (iii) no activity of the
Fund contemplated in the Private Placement Memorandum or the Partnership Agreement will
violate any Similar Law.

       (v)     The Subscriber will promptly provide any additional documentation the General
Partner or the Administrator may request in the future to the extent that the General Partner or
the Administrator determines necessary in order to comply with applicable anti-money
laundering laws or policies or any other applicable law.

       (w)    The Subscriber acknowledges that due to anti-money laundering requirements
operating within their respective jurisdictions, the Fund, the General Partner, the Investment
Manager and/or the Administrator (as the case may be) may require additional documentation
12
     The Treasury Department's Financial Crimes Enforcement Network (' 1Fi11CEN") issues advisories
     regarding countries of primary money laundering concern. FinCEN's advisories are posted at
     http://www.fincen.gov/pub _ main.html.

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before a subscription application or withdrawal request can be processed. Please be aware that
the Subscriber's failure to provide or a delay in providing any such documentation may result in
a delay of the Subscriber's acceptance to the Fund, cause the Subscriber's subscription to be
rejected entirely or delay the satisfaction of the Subscriber's withdrawal request, as applicable.
The Fund, the General Partner, the Administrator and the Investment Manager will be held
harmless and indemnified against any loss arising as a result of any such delay or rejection due to
the Subscriber's failure to provide or delay in providing any such requested information.

        (x)     The Subscriber acknowledges and agrees that Interests in the Fund will not be
issued until such time as the General Partner and/or the Administrator has received and is
satisfied with all the information and documentation requested to verify the Subscriber's identity.
Where at the sole discretion of the Fund, Interests are issued prior to the General Partner and/or
Administrator having received all the information and documentation required to verify the
Subscriber's identity, the Subscriber will be prohibited from withdrawing any Interests so issued,
and the Fund, and the Administrator on its behalf, reserves the right to refuse to make any
withdrawal payment or distribution to the Subscriber, until such time as the General Partner
and/or the Administrator, as applicable, has received and is satisfied with all the information and
documentation requested to verify the Subscriber's identity.

        (y)     The Subscriber agrees to provide the Fund, the General Partner and/or the
Administrator, in a timely manner, any additional tax information or documentation that the
General Partner or Administrator believes is required or will enable it, the Fund or any affiliate
of the foregoing to comply with or mitigate any of their respective tax reporting, tax withholding,
and/or tax compliance obligations, or which may arise as a result of a change in law or in the
interpretation thereof.

        (z)     The Subscriber agrees that the tax certifications, representations, warranties or
covenants required to be provided and agreements required to be entered into hereunder will
survive the acceptance and closing of this subscription and the dissolution of the Fund, without
limitation as to time. Without limiting the foregoing, the Subscriber agrees (i) to give the Fund
prompt written notice in the event that any tax statement, certification, representation, warranty
or other information provided by the Subscriber herein or in any document required to be
provided under this Subscription Agreement (including, without limitation, any Forms W-9
and/or W-8) ceases to be true at any time following the date hereof, and (ii) from time to time to
provide an updated tax statement, certification, representation, warranty or other information, as
applicable.

       (aa) The Subscriber agrees that the Fund intends to be classified and taxed as a
partnership for U.S. federal income tax purposes and not as a publicly-traded partnership for
such purposes, and that it will not transfer any Interest in the Fund, or cause any such Interest to
be marketed, on or through an "established securities market" within the meaning of Section
7704(b)(l) of the Code or a "secondary market (or the substantial equivalent thereof)" within the
meaning of Section 7704(b)(2) of the Code or the U.S. Treasury regulations thereunder,
including, without limitation, an over-the-counter market or an interdealer quotation system that
regularly disseminates firm buy or sell quotations.

     (bb) The Subscriber understands that Akin Gump Strauss Hauer & Feld LLP ("Akin
Gump") acts as U.S. counsel to the Fund, the Strategic Master Fund, the Mining Master Fund,

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the General Partner, the Investment Manager and their affiliates. The Subscriber also
understands that, in connection with this offering of Interests and ongoing advice to the Fund, the
Strategic Master Fund, the Mining Master Fund, the General Partner, the Investment Manager
and their affiliates, Akin Gump will not be representing investors in the Fund, including the
Subscriber, and no independent counsel has been retained to represent investors in the Fund. In
addition, Akin Gump does not undertake to monitor the compliance of the Investment Manager
and its affiliates with the investment program, valuation procedures and other guidelines set forth
in the Private Placement Memorandum, nor does Akin Gump monitor compliance with
applicable laws. In preparing the Private Placement Memorandum, Akin Gump relied on
information furnished to it by the Fund and/or the Investment Manager, and did not investigate
or verify the accuracy or completeness of the information set forth therein concerning the Fund,
the Strategic Master Fund, the Mining Master Fund, the General Partner, the Investment
Manager and their affiliates and personnel.

         (cc) The Subscriber acknowledges and agrees that a number of obligations may be
imposed on the Fund (or any of its affiliates) under (i) legislation known as the U.S. Foreign
Account Tax Compliance Act ("FATCA"), Sections 1471 through 1474 of the Code and the U.S.
Treasury regulations thereunder (whether proposed, temporary or final), (ii) the Common
Reporting Standard issued by the Organisation for Economic Cooperation and Development, (iii)
any similar automatic exchange of financial, account or tax information agreements or
arrangements, and (iv) in each case, including any successor provisions, subsequent
amendments, and administrative guidance promulgated thereunder (or which may be
promulgated in the future), any applicable intergovernmental agreement and related statutes,
regulations or rules, and other guidance thereunder, any governmental authority pursuant to the
foregoing authorities, and any agreement entered into by or with respect to the Fund (or any of
its affiliates) ("AEOI"), impose or may impose a number of obligations on the Fund (or any of
its affiliates). In this regard:

                  (I)        The Subscriber acknowledges and agrees that the Fund and its affiliates
                             are required to comply with the provisions of the AEOI.

                  (2)        The Subscriber acknowledges that, in order to comply with the AEOI
                             and/or to avoid the imposition of U.S. federal withholding tax, the General
                             Partner and the Fund's agents and their affiliates, including, but not
                             limited to, the Investment Manager and the Administrator, may, from time
                             to time, (A) require further information and/or documentation from the
                             Subscriber, which information and/or documentation may (I) include, but
                             will not be limited to, information and/or documentation relating to or
                             concerning the Subscriber, the Subscriber's direct and indirect beneficial
                             owners and/or controlling persons (if any), any such person's identity,
                             residence (or jurisdiction of formation or tax residence) and income tax
                             status, and (2) need to be certified by the Subscriber, and, where
                             applicable, under penalties of perjury, and (B) provide or disclose any
                             such information and documentation to the IRS, the Cayman Islands Tax
                             Information Authority (or any other Cayman Islands governmental body
                             which collects information in accordance with the relevant legislation) or
                             other governmental authorities or agencies, or to any applicable
                             jurisdiction in respect of the AEOI, and to certain withholding agents.
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                 (3)       The Subscriber agrees that it will provide and/or update such information
                           and/or documentation concerning itself and its direct and indirect
                           beneficial owners and/or controlling persons (if any), as and when
                           requested by the General Partner, any of the Fund's agents, as the General
                           Partner or any of the Fund's other agents, as any such person, in its sole
                           discretion, determine is necessary or advisable for the Fund (or any of its
                           affiliates) to comply with its obligations under the AEOI.

                 (4)       The Subscriber agrees to waive any provision of law of any jurisdiction
                           that would, absent a waiver, prevent compliance with the AEOI by the
                           Fund or any affiliate thereof, including, but not limited to, the Subscriber's
                           provision of any requested information and/or documentation.

                 (5)       The Subscriber acknowledges that, if the Subscriber provides information
                           or documentation that is in any way misleading, or does not timely
                           provide and/or update the requested information and/or documentation or
                           waiver (each, a "Tax Information Compliance Failure"), as applicable,
                           the General Partner may, at its sole discretion and in addition to all other
                           remedies available at law or in equity, immediately or at such other time or
                           times redeem or withdraw all or a portion of the Subscriber's investment,
                           prohibit in whole or part the Subscriber from participating in additional
                           investments and/or deduct from the Subscriber's account and retain
                           amounts sufficient to indemnify and hold harmless the General Partner,
                           Fund and any of the Fund's other agents (including, but not limited to, the
                           Investment Manager and the Administrator) or any other
                           subscriber/investor, or any partner, member, shareholder, director,
                           manager, officer, employee, delegate, agent, affiliate, executor, heir,
                           assign, successor or other legal representative of any of the foregoing
                           persons, from any and all withholding taxes, interest, penalties, costs,
                           expenses and other losses or liabilities suffered by any such person or
                           persons on account of a Tax Information Compliance Failure; provided
                           that the foregoing indemnity will be in addition to and supplement any
                           other indemnity provided under this Subscription Agreement.

                 (6)       The Subscriber agrees to indemnify and keep indemnified the General
                           Partner, the Fund and each of its agents and delegates and each of their
                           respective principals, members, managers, officers, directors,
                           stockholders, employees and agents, from and against any AEOI related
                           liability, action, proceeding, claim, demand, costs, damages, expenses
                           (including legal expenses) penalties or taxes whatsoever which the Fund
                           may incur under the provisions of the AEOI as a result of any
                           representation, action or inaction (directly or indirectly) of the Subscriber.
                           This indemnification shall survive the Subscriber's death or disposition of
                           its Interest. Without prejudice to the generality of the foregoing, to the
                           extent that the General Partner and any of the Fund's agents (including,
                           but not limited to, the Investment Manager), or any other
                           subscriber/investor, or any partner, member, shareholder, director,
                           manager, officer, employee, delegate, agent, affiliate, executor, heir,

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                          assign, successor or other legal representative of any of the foregoing
                          persons suffers any withholding taxes, interest, penalties and/or other
                          expenses and costs on account of the Subscriber's Tax Information
                          Compliance Failure, (a) the Subscriber will promptly pay upon demand by
                          or on behalf of the General Partner to the Fund or, at the General Partner's
                          direction, to any of the foregoing persons, an amount equal to such
                          withholding taxes, interest, penalties and other expenses and costs or (b)
                          the General Partner may reduce the amount of the next distribution or
                          distributions which would otherwise have been made to the Subscriber or,
                          if such distributions are not sufficient for that purpose, reduce the proceeds
                          of liquidation otherwise payable to the Subscriber by an amount equal to
                          such withholding taxes, interest, penalties and other expenses and costs.

                (7)       The Subscriber acknowledges that the General Partner, in consultation
                          with the Investment Manager, will determine in its sole discretion,
                          whether and how to comply with the AEOI, and any such determinations
                          will include, but not be limited to, an assessment of the possible burden to
                          Subscribers, the General Partner and the Administrator of timely collecting
                          information and/or documentation.

                (8)       The Subscriber acknowledges and agrees that it will have no claim against
                          the General Partner, the Fund and any of the Fund's other agents
                          (including, but not limited to, the Investment Manager and the
                          Administrator), or any other subscriber/investor, or any partner, member,
                          shareholder, director, manager, officer, employee, delegate, agent,
                          affiliate, executor, heir, assign, successor or other legal representative of.
                          any of the foregoing persons, for any damages or liabilities attributable to
                          any AEOI-related determinations pursuant to paragraph (cc)(7) above;
                          provided that the foregoing indemnity will be in addition to and
                          supplement any other indemnity provided under this Subscription
                          Agreement.

       (dd) None of the Subscriber's subscription funds consist of "Proceeds of Municipal
Securities" or "Municipal Escrow Investments."

         (ee) Subscriber is either (i) not a partnership, grantor trust or S corporation (or a
limited liability company treated as a pass-through entity) for U.S. federal income tax purposes
or, (ii) if the Subscriber is an entity referred to in clause (i), then either (x) it was not formed for
the purpose of acquiring all or part of Subscriber's Interest and not more than 50% of the value
of the interest of each of its beneficial owners will be attributable to the Subscriber's Interest so
acquired, or (y) its principal purpose is not to permit the Fund to satisfy the JOO-partner
limitation in U.S. Treasury Regulations Section 1.7704-l(h)(l)(ii).

4,      Representations, Warranties and Covenants - ERISA Subscribers

        If the Subscriber is, or is acting on behalf of, an employee benefit plan (a "Plan") which
is subject to ERISA or Section 4975 of the Code, to induce the Fund to accept this subscription,


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the Subscriber hereby makes the following additional representations, warranties and covenants
to the Fund and to the Fund's general and limited partners:

        (a)    The person executing this Subscription Agreement on behalf of the Subscriber
either is a "named fiduciary" (within the meaning of ERISA) of the Subscriber, or is acting on
behalf of a named fiduciary of the Subscriber pursuant to a proper delegation of authority.

       (b)     The person executing this Subscription Agreement on behalf of the Subscriber
represents and warrants on behalf of such person or the Subscriber, as applicable, as follows:

                 (I)       The Subscriber is (A) an employee benefit plan subject to the fiduciary
                           provisions of ERISA, (B) a "plan" subject to Section 4975 of the Code,
                           (C) an entity that otherwise constitutes a "benefit plan investor" within the
                           meaning of any Department of Labor regulation promulgated under
                           Section 3(42) ofERISA (a party described in (A), (B) or (C) a "Plan") or
                           (D) any entity whose underlying assets include "plan assets" for purposes
                           of ERIS A by reason of a Plan's investment in the Subscriber (a "Plan
                           Asset Entity" and together with a Plan, an "ERISA Investor").

                 (2)       The execution and delivery of this Subscription Agreement and the
                           consummation of the transactions contemplated hereunder, and in the
                           Private Placement Memorandum and the Partnership Agreement will not
                           result in a breach or violation of any charter or organizational documents
                           pursuant to which the Subscriber was formed, or any statute, rule,
                           regulation or order of any court or governmental agency or body having
                           jurisdiction over the Subscriber or any of its assets, or in any material
                           respect, any mortgage, indenture, contract, agreement or instrument to
                           which the Subscriber is a party or otherwise subject.

                 (3)       The investment in the Fund is permitted by the documents of the
                           Subscriber and such documents permit the Subscriber to invest in private
                           investment funds that will engage in the investment program described in
                           the Private Placement Memorandum. The execution and delivery of this
                           Subscription Agreement and the acquisition, holding and withdrawal of an
                           Interest is exempt from the prohibited transaction rules of Section 406 of
                           ERISA and Section 4975 of the Code.

                 (4)       This Subscription Agreement is the indicia of ownership of an Interest for
                           purposes of Section 403(a) of ERISA, and a copy of this Subscription
                           Agreement will be held in trust by the Subscriber's trustees.

                 (5)       The Subscriber through appropriate fiduciaries has carefully reviewed and
                           understands the various risks of an investment in the Fund, as well as the
                           fees and conflicts of interest to which the Fund is subject, including those
                           set forth in the Private Placement Memorandum. The Subscriber hereby
                           consents and agrees to the payment of the fees so described to the parties
                           identified as the recipients thereof, and to such conflicts of interest.


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       (c)     The Subscriber is not in any way affiliated with (i.e., does not own or control, is
not owned or controlled by, nor is under common ownership or control with) any person or entity
which will receive compensation, directly or indirectly, from the Fund, as specifically identified
and described in the Private Placement Memorandum.

        (d)   The Subscriber acknowledges and agrees that the decision to invest in the Fund
and the review of the terms of the Fund must be made solely and independently by a fiduciary of
the Subscriber who has no affiliation with the General Partner or any of its affiliates or
employees, without relying on any recommendation of the General Partner or any of its affiliates
or employees as a primary basis for its decision. In addition, any ongoing evaluation of the Fund
as an investment in the Subscriber's overall portfolio (including any decision to remain invested
in the Fund or to make additions to or withdrawal of Interests from the Fund) must be made
solely and independently by such a fiduciary, without relying on any recommendation of the
Fund (or any of its affiliates or employees) as a primary basis for such fiduciary decision.

        (e)     The appropriate fiduciaries of the Subscriber have considered the investment in
light of the risks relating thereto and fiduciary responsibility provisions of ERISA applicable to
the Subscriber and have determined that, in view of such considerations, the investment is
appropriate for the Subscriber and is consistent with such fiduciaries' responsibilities under
ERISA, and the appropriate fiduciaries: (i) are responsible for the Subscriber's decision to invest
in the Fund, including the determination that such investment is consistent with the requirement
imposed by Section 404 ofERISA that employee benefit plan investments be diversified so as to
minimize the risk of large losses; (ii) are independent of the General Partner, the Investment
Manager or the Fund and any of their affiliates and employees and of any person or entity that
will receive compensation, whether directly or indirectly, from the Fund, as specifically
identified and described in the Private Placement Memorandum; (iii) are qualified and authorized
to make such investment decision; and (iv) in making such decision, have not relied on the
recommendation of the General Partner or any of its affiliates or employees.

        (f)    The Subscriber through the appropriate fiduciaries has been given the opportunity
to discuss the Subscriber's investment in the Fund, and the structure and operation of the Fund
with the General Partner and has been given all information that the Subscriber or the
appropriate fiduciaries have requested and which the Subscriber or the appropriate fiduciaries
deemed relevant to the Subscriber's decision to participate in the Fund.

       (g)     The Subscriber is aware that if the Subscriber is an ERISA Investor or other tax-
exempt entity, it may be subject to federal income tax on any unrelated business taxable income
from its investment in the Fund. The Subscriber has consulted counsel to the extent it deems
necessary concerning the propriety of making an investment in the Fund and the appropriateness
of such an investment under ERISA and the Code, including, without limitation, with respect to
an IRA, the possible risk of loss of the IRA's tax-exempt status if an investment in the Fund is
found to violate the requirements of Code section 408(a)(5).

        (h)    The Subscriber represents that in connection with its decision to invest in the
Fund, the Subscriber is and will remain represented by a party independent of the General
Partner, the Investment Manager or any of their affiliates or employees and such party (A) is
described in 29 CFR §25 l 0.3-21 (c)(l )(i); (B) is capable of evaluating investment risks
independently, both in general and with regard to particular transactions and investment

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strategies; (C) acknowledges that none of the General Partner, Investment Manager or any of
their affiliates or employees is undertaking to provide impartial investment advice, or to give
advice in a fiduciary capacity, in connection with the Subscriber's investment in the Fund; and
(D) is acting as a fiduciary under ERISA with respect to the Subscriber's investment in the Fund
and is responsible for exercising independent judgment in evaluating such investment. If the
Subscriber cannot make the representations set forth above, the Subscriber must contact the
Investment Manager and the subscription will not be accepted unless specifically agreed to by
the Investment Manager.

5.        Representations, Warranties and Covenants - lnsnrance Company General Acconnt
          and Plan Asset Entity Subscribers

        (a)    If the Subscriber is acquiring an Interest with the assets of the general account of
an insurance company (a "General Account"), the Subscriber represents, warrants and covenants
that, on each day the Subscriber owns an Interest, either (i) the assets of such General Account
are not considered to be plan assets within the meaning of Section 3(42) of ERISA, Department
of Labor Regulations Section 2510.3-101 or Department of Labor regulations issued pursuant to
Section 401(c)(l)(A) of ERISA, or (ii) the execution and delivery of this Subscription
Agreement, and the acquisition and withdrawal of the Interest, is exempt from the prohibited
transaction rules of Section 406(a) of ERISA and Section 4975(c)(l)(A) - (D) of the Code by
virtue of Department of Labor Prohibited Transaction Class Exemption 95-60 or some other
exemption of such rules.

        (b)     By signing this Subscription Agreement, each Subscriber that is either a Plan
Asset Entity or using the assets of a General Account hereby covenants that if, after its initial
acquisition of the Interest, at any time during any calendar month the percentage of the assets of
such General Account (as reasonably determined by the Subscriber) or Plan Asset Entity, as
applicable, that constitute "plan assets" for purposes of Title I of ERISA or Section 4975 of the
Code exceeds the maximum percentage limit specified by the Subscriber in Question 2(d) of
Section III of the Subscriber Information Form, then such Subscriber will promptly notify the
Fund of such occurrence and the General Partner may require the Subscriber to withdraw or
dispose of all or a portion of the Interests held in such General Account or by such Plan Asset
Entity, as applicable, as specified in the Partnership Agreement by the end of the next following
calendar month or such other time as may be determined by the General Partner.

6.        Indemnification

        (a)     The Subscriber understands the meaning and legal consequences of the
representations, warranties, agreements, covenants and confirmations set out above and agrees
that the subscription made hereby, if accepted by the General Partner, will be accepted in
reliance thereon. The Subscriber agrees to indemnify and hold harmless the Fund, the General
Partner, the Investment Manager and their affiliates, and the partners, members, managers,
stockholders, other beneficial owners, officers, directors and employees of any of the foregoing
(together, the "Indemnified Persons") from and against any and all loss, damage, liability or
expense, including reasonable costs, attorneys' fees and disbursements, which an Indemnified
Person may incur by reason of, or in connection with, any representation or warranty made
herein (or in the accompanying Subscriber Information Form) not having been true, correct and
complete when made, any misrepresentation made by the Subscriber or any failure by the

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Subscriber to fulfill any of the covenants or agreements set forth herein, in the Subscriber
Information Form or in any other document provided by the Subscriber to the Fund.

        (b)    The Subscriber expressly consents to the General Partner, the Investment
Manager or the Administrator accepting and executing any instructions transmitted in written or
facsimile form (or by other electronic means) in respect of an investment in the Fund to which
this application relates (including, without limitation, withdrawal requests). If instructions are
given by the Subscriber in facsimile form (or by other electronic means), the Subscriber
undertakes to send the original letter of instructions to the Fund and the Administrator and
hereby agrees to hold harmless and indemnify each of the Indemnified Persons, the
Administrator and any of its employees and agents against any loss of any nature whatsoever
arising to any of them as a result of any of them acting upon instructions submitted by facsimile
or by other electronic means. Each Indemnified Person and each of the Administrator and any of
its employees and agents may rely conclusively upon and will incur no liability (i) for any loss
arising from the non-receipt of any instructions relating to the interests of the Subscriber
delivered by facsimile or other electronic means or (ii) in respect of any action ta~n upon any
notice, consent, request, instructions or other instrument believed in good faith to be genuine or
to be signed by properly authorized persons on behalf of the Subscriber. Each Indemnified
Person and each of the Administrator and any of its employees and agents will be allowed such
amount of time to act on and implement any instructions as may be reasonable having regard to
their systems and operations and any other circumstances then prevailing and will not be liable
for any loss arising from any delay in acting on any instruction.

7.        Miscellaneous

        (a)    The Subscriber agrees that neither this Subscription Agreement, nor any of the
Subscriber's rights, interest or obligations hereunder, is transferable or assignable by the
Subscriber, and further agrees that the transfer or assignment of any Interest acquired pursuant
hereto will be made only in accordance with the provisions hereof, the Partnership Agreement
and all applicable law. Any assignment in violation of this Section 7(a) will be null and void ab
initio.

        (b)   The Subscriber agrees that, except as permitted by applicable law, it may not
cancel, terminate or revoke this Subscription Agreement or any agreement of the Subscriber
made hereunder, and that this Subscription Agreement will survive the death or legal disability
of the Subscriber and will be binding upon the Subscriber's heirs, executors, administrators,
successors and assigns.

        (c)     All of the representations, warranties, tax certifications, covenants, agreements,
indemnities and confirmations set out above and in the Subscriber Information Form will survive
the acceptance of the subscription made herein and the issuance of any Interest and the
dissolution of the Fund with no limitation as to time.

        (d)    This Subscription Agreement together with the Subscriber Information Form, the
Partnership Agreement and any applicable side letter agreement (a "Side Letter"), if any,
constitutes the entire agreement between the parties hereto with respect to the subject matter
hereof and may be amended only by a writing executed by both parties.


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        (e)    The Subscriber hereby agrees that any representation, warranty, agreement,
covenant or confirmation made hereunder will be deemed to be reaffirmed by the Subscriber at
any time it makes an additional capital contribution to the Fund and the act of making such
additional contribution will be evidence of such reaffirmation.

        (f)   Within 10 days after receipt of a written request therefor from the Fund, the
Subscriber agrees to provide such information and to execute and deliver such documents as the
Fund may deem reasonably necessary to comply with any and all laws, rules, regulations, orders
and ordinances to which the Fund is or may be subject.

        (g)    The Subscriber agrees to keep confidential, and not to make any use of (other than
for purposes reasonably related to its investment in the Fund) or disclose to any person, any
information or matter relating to the Fund and its affairs and any information or matter related to
any investment of the Fund (other than disclosure to the Subscriber's authorized representatives);
provided that (i) the Subscriber may make such disclosure to the extent that (x) the information
to be disclosed is publicly known, through no breach of confidentiality on the part of the
Subscriber or any of the Subscriber's agents, at the time of proposed disclosure by the
Subscriber, (y) the information otherwise is or becomes legally known to the Subscriber other
than through disclosure by the Fund, or (z) such disclosure is required by law or in response to
any governmental agency request or in connection with an examination by any regulatory
authorities; provided that such agency, regulatory authorities or association is aware of the
confidential nature of the information disclosed; (ii) the Subscriber may make such disclosure to
its Beneficial Interest Holders to the extent required under the terms of its arrangements with
such persons; and (iii) the Subscriber will be permitted, after written notice to the General
Partner, to correct any false or misleading information that becomes public concerning the
Subscriber's relationship to the Fund. Prior to making any disclosure required by law, the
Subscriber will use its best efforts to notify the General Partner of such disclosure. Prior to any
disclosure to any authorized representative or Beneficial Interest Holder, the Subscriber will
advise such persons of the confidentiality obligations set forth herein and each such person will
agree to be bound by such obligations. Notwithstanding the foregoing, the Subscriber may
disclose to any and all persons, without limitation of any kind, the tax treatment and tax structure
of an investment in the Fund and all materials of any kind (including opinions or other tax
analyses) that are provided in connection with this Subscription Agreement to the Subscriber
relating to such tax treatment or tax structure; provided, however, that such disclosure shall not
include the name (or other identifying information not relevant to the tax structure or tax
treatment) of any person and shall not include information for which nondisclosure is reasonably
necessary in order to comply with applicable securities laws. The Subscriber acknowledges and
agrees that the Fund and the General Partner would be damaged irreparably and would not have
an adequate remedy at law if this Section 7(g) is not performed in accordance with its specific
terms or is otherwise breached. Accordingly, in addition to any other remedy to which it may be
entitled at law or in equity, each party will be entitled to an injunction or injunctions to prevent
breaches or threatened breaches of this Section 7(g) and to enforce specifically this Section 7(g),
without bond or other security being required. The rights and remedies in this Section 7(g) are
cumulative and in addition to any other rights and remedies otherwise available at law or in
equity. Nothing herein will be considered an election of remedies or a waiver of the right to
pursue any other right or remedy to which party may be entitled.



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         (h)     Except as otherwise indicated in Question 4 of Section I in Part A of the
Subscriber Information Form, the Subscriber has agreed to receive and accept reports and
communications indefinitely from the Fund, the Administrator and the General Partner
exclusively via e-mail to the e-mail address set forth in the Subscriber Information Form or via a
website for which the Fund, the Investment Manager or the Administrator will give the
Subscriber a password, unless the Subscriber notifies the General Partner or the Administrator in
writing that the Subscriber wishes to receive reports to either another e-mail address or
alternatively, via regular mail in lieu of electronic mail. If instructions are given by the
Subscriber via e-mail, the Subscriber agrees to indemnify each Indemnified Person and each of
the Administrator and any of its employees and agents against any loss of any nature whatsoever
arising to any of them as a result of any of them acting upon instructions submitted by e-mail.
Each Indemnified Person and the Administrator may rely conclusively upon and will incur no
liability in respect of any loss arising from (i) the non-receipt of any instructions relating to the
Interests a/the Subscriber delivered via e-mail or (ii) any action taken upon any notice, consent,
request, instructions or other instrument believed in good faith to be genuine or to be signed by
properly authorized persons on behalf of the Subscriber.

        (i)      If the Subscriber is subscribing for Interests as a record owner in its capacity as
agent, representative or nominee on behalf of one or more Beneficial Owners, it agrees that the
representations, warranties and covenants made in this Subscription Agreement are made by it on
behalf of itself and the Beneficial Owner(s).

8.      Agreement to be a Limited Partner

        Subject only to the acceptance of this Subscription Agreement by the General Partner, the
Subscriber hereby joins in and agrees to be bound by the Partnership Agreement as a limited
partner.

9.      Power of Attorney

         Subject only to the acceptance of this Subscription Agreement by the General Partner, the
Subscriber does hereby appoint the General Partner, acting through any of its authorized
partners, members or officers, as the Subscriber's true and lawful attorney-in-fact with full power
of substitution and re-substitution, to have full power and authority to act in the Subscriber's
name, place and stead and on the Subscriber's behalf to make, execute, sign, acknowledge, swear
to, verify, deliver, record, file or publish all such instruments, documents and certificates that the
General Partner considers necessary to or appropriate or advisable for the operation of the Fund
as contemplated in the Partnership Agreement (the "Power of Attorney"). The Power of
Attorney granted hereby is a special power of attorney coupled with an interest and will be
irrevocable to the fullest extent permitted by law.

       The Subscriber is aware that the terms of the Partnership Agreement permit certain
amendments to the Partnership Agreement to be effected and certain other actions to be taken or
omitted by or with respect to the Fund without the Subscriber's consent.

           If an amendment of the Certificate of Limited Partnership of the Fund or the Partnership
Agreement or any action by or with respect to the Fund is taken by the General Partner in the
manner contemplated by the Partnership Agreement, the Subscriber agrees that, notwithstanding
any objection that the Subscriber may assert with respect to such action, the General Partner in
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its sole discretion is authorized and empowered, with full power of substitution, to exercise the
authority granted above in any manner which may be necessary or appropriate to permit such
amendment to be made or action lawfully taken or omitted. The power of attorney granted
hereby is a special power of attorney coupled with an interest sufficient in law to support an
irrevocable power and will be irrevocable to the fullest extent permitted by law and will survive
and not be affected by the subsequent death, disability, dissolution, termination or bankruptcy of
the Subscriber and will extend to the Subscriber's successors, assigns and legal representatives.

        If the undersigned is executing on behalf of an entity, the undersigned has been duly
authorized by such entity to execute this Subscription Agreement, which includes this Power of
Attorney, and this Subscription Agreement, together with this Power of Attorney, has been duly
executed and delivered on behalf of such entity and is the valid and binding agreement of the
Subscriber, enforceable against the Subscriber in accordance with its terms. If the Subscriber is
an individual, the Subscriber has the legal capacity to execute, deliver and perform the
obligations contained in this Subscription Agreement, including this Power of Attorney.

        The undersigned agrees to hold the General Partner harmless from any liability, damages
or loss that the undersigned sustains from the General Partner's action or failure to act except to
the extent such losses, liability or damages are directly caused by the gross negligence or willful
misconduct of the General Partner.

10.    Data Protection

              (a)      The Subscriber acknowledges that information supplied on this
       Subscription Agreement and otherwise in connection with the Subscriber's subscription
       for an Interest (collectively "Personal Information") may be held by the Fund, the
       General Partner, the Investment Manager and/or the Administrator and may be used for
       the purpose of:

               (!)      processing the Subscriber's subscription for an Interest and completion of
                        information on the register of limited partners of the Fund; carrying out
                        the Subscriber's instructions or responding to any enquiry purporting to be
                        given by the Subscriber or on behalf of the Subscriber;

               (2)      dealing in any other matters relating to the Subscriber's holding of an
                        Interest (including the mailing of reports or notices); and/or

               (3)      observing any legal, governmental or regulatory requirements of any
                        relevant jurisdiction (including any disclosure or notification requirements
                        to which any recipient of the data is subject).

             (b)     The Subscriber acknowledges and agrees that, subject to the requirements
       of applicable law relating to personal information, the General Partner and the
       Administrator may:

               (I)      retain Personal Information after the Subscriber has withdrawn or
                        transferred all of its Interest and after the termination of the Fund;



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                 (2)       maintain Personal Information on computer systems based or maintained
                           in such places as the General Partner or Administrator determines, which
                           may be in countries that have not enacted data protection legislation;

                 (3)       disclose and transfer Personal Information, by any method including
                           electronically and/or by making available the original or a copy of the
                           Subscription Agreement itself, to any of its employees, officers, directors,
                           agents and/or affiliates or to auy third party employed to provide
                           administrative, computer or other services or facilities to any person to
                           whom data is disclosed or transferred as aforesaid;

                 (4)       disclose Personal Information where such disclosure is required by any
                           law or order of any court or pursuant to any direction, request or
                           requirement (whether or not having the force of law) of any central bank
                           or governmental or other regulatory or taxation authority; and/or

                 (5)       disclose and transfer Personal Information by any method, including
                           electronically and/or by making available the original or a copy of the
                           Subscription Agreement itself, to the General Partner, the Investment
                           Manager and/or the professional advisors of the General Partner and/or the
                           Investment Manager.

11.     Notices

        Any notice required or permitted to be given to the Subscriber in relation to the Fund will
be sent to the email address specified in Part A, Section I of the Subscriber Information Form or
to such other address as the Subscriber designates by written notice received by the General
Partner.

12.     Governing Law

        This Subscription Agreement will be governed by, and construed in accordance with, the
laws of the State of Delaware, without giving effect to any conflict of law principles that would
result in the application of the laws of any other jurisdiction.

                                         [Signature Pages Follow]




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                                              SIGNA TURE PAGE
                                               (Complete and sign)

  By signing below , the Subscriber (1) confirms that the
                                                                  information contained in the Subscriber
  Information Form is accurate and complete, (2) agrees to the
                                                                   terms of this Subscription Agreement, the
  Partnership Agree ment and, if applicable, any Side Letter (3)
                                                                 requests that the records of the Fund reflect
  the Subscriber's admiss ion as a limited partner.

 If the Subscriber is an individual retirement account, Keogh Plan
                                                                    or other self-directed plan, the custodian
 or trustee of such accoun t or plan must execute this Subscription
                                                                    Agreement below.
 The Subscl'iber is subscribing for         0 Class A Interest
 which clas of nterest:                     ~ Class B Interest

                                                               AMOUNT OF SUBSCRIPTION
                                                                                    tP
                                                              $ jJ   (?OOJ (jOD '

 Name of Subscriber's Spouse
 ( if a natural person and purchasing jointly)


 Signat ure of Spouse                                         Subscriber s Signat ure
  (if a natural person and purchasing jointly)
                                                                IIN7Iv'   0      I) t.r 0/2fU o ;
                                                                           1
                                                              Name and title or representative
                                                              capacity, if applicable
Dated: _ _ _ _, 20_
                                                              Name of custodian or trustee


                                                              Signature
                                                              Title:
If the Subscr iber is a custodian or trustee acting for an individual
                                                                      retirement account or other self-directed
retirem ent plan, the beneficial owner of the individual retirem
                                                                  ent account or other self-directed retirement ·
plan is required to execute the page titled "Additional Repres
                                                                   entation with respect to Investments by an
IRA or Self-Directed Pension Plan".
The Subsc riber's subscription is accepted , subject to the provisi
                                                                      ons of the Subscription Agreement, the
Partne rship Agreement and, if applicable, any Side Letter.



                                                                                              artner

                                                     By:
                                                     Name:
                                                     Title:
Dated: January 12
      - -    - - - -' 20-18
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                                           SIGNATURE PAGE
                                            (Complete and sign)

By signing below, the Subscriber (1) confirms that the information contained in the Subscriber
Information Form is accurate and complete, (2) agrees to the terms of this Subscription Agreement, the
Partnership Agreement and, if applicable, any Side Letter (3) requests that the records of the Fund reflect
the Subscriber's admission as a limited partner.

If the Subscriber is an individual retirement account, Keogh Plan or other self-directed plan, the custodian
or trustee of such account or plan must execute this Subscription Agreement below.

The Subscriber is subscribing for          D   Class A Interest
which class oflnterest:                   ~ Class B Interest
Dated:   il S"'        ,2J~                                AMOUNT OF SUBSCRIPTION

                                                           $      l10@,CfcJO'cP

Name of Subscriber's Spouse
(if a natural person and purchasing jointly)

Signature of Spouse                                        Subscriber s Signature
(if a natural person and purchasing jointly)
                                                               !01167 q}/S6,u,,;
                                                           Name and title 4fr representative
                                                           capacity, if applicable

Dated:_ _ _ _ , 20_
                                                           Name of custodian or trustee


                                                           Signature
                                                           Title:

If the Subscriber is a custodian or trustee acting for an individual retirement account or other self-directed
retirement plan, the beneficial owner of the individual retirement account or other self-directed retirement
plan is required to execute the page titled "Additional Representation with respect to Investments by an
IRA or Self-Directed Pension Plan".
The Subscriber's subscription is accepted, subject to the provisions of the Subscription Agreement, the
Partnership Agreement and, if applicable, any Side Letter.




                                                    By:
                                                    Name:
                                                    Title:
       January
Dated: _ _ _ _ 12     18
               _ _ , 20_


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                    ADDITIONAL REPRESENTATION WITH RESPECT TO
                INVESTMENTS BY AN IRA OR SELF-DIRE<;:TED PENSION PLAN


If the Subscriber is an IRA or self-directed pension plan, the individual who established the IRA
or the individual who directed the pension plan's investment in the Fund, as the case may be, the
"Fiduciary": (i) has directed the custodian or trustee of the Subscriber to execute this
Subscription Agreement on the line set forth above for authorized signatory; and (ii) has signed
below to indicate that he or she has reviewed, directed and certifies to the accuracy of the
representation and warranties made by the Subscriber herein.



                                                    Name




                                                    Signature




Name and Address of Custodian
and Contact Individual:




Account Number or other Reference Number:



Custodian's Tax I.D. Number:




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                                               APPENDIX A

                                                DEFINITIONS

        Beneficial Interest Holder: A holder of any beneficial interest in an Interest.

        Close Associate: With respect to a Senior Foreign Political Figure, a person who is widely and
publicly known internationally to maintain an unusually close relationship with the Senior Foreign
Political Figure, and includes a person who is in a position to conduct substantial domestic and
international financial transactions on behalf of the Senior Foreign Political Figure.

       FATF: The Financial Action Task Force on Money Laundering.

       Foreign Bank: An organization that (a) is organized under the laws of a country outside the
United States; (b) engages in the business of banking; (c) is recognized as a bank by the bank
supervisory or monetary authority of the country of its organization or principal banking operations; (d)
receives deposits to a substantial extent in the regular course of its business; and (e) has the power to
accept demand deposits, but does not include the U.S. branches or agencies ofa foreign bank.

       Foreign Shell Bank: A Foreign Bank without a Physical Presence in any country, but does not
include a Regulated Affiliate.

        Government Entity: Any government or any state, department or other political subdivision
thereof, or any governmental body, agency, authority or instrumentality in any jurisdiction exercising
executive, legislative, regulatory or administrative functions of or pertaining to government.

        Immediate Family: With respect to a Senior Foreign Political Figure, typically includes the
political figure's parents, siblings, spouse, children and in-laws.

       Municipal Entity: Any state, a political subdivision thereof or              municipal corporate
instrumentality of the above, including (a) any agency, authority or instrumentality of the above, (b) any
plan, program or pool of assets sponsored or established by the above and (c) any other issuer of
municipal securities.

        Municipal Escrow Investments: Proceeds of municipal securities and any other funds of a
Municipal Entity or obligated person, such as a guarantor, that are deposited in an escrow account to pay
the principal of, premium, if any, and interest on one or more issues of municipal securities.

       Non-Cooperative Jurisdiction: Any foreign country or territory that has been designated as non-
cooperative with international anti-money laundering principles or procedures by an intergovernmental
group or organization, such as FATF, of which the United States is a member and with which
designation the United States representative to the group or organization continues to concur. For
FATF's list of non-cooperative countries and territories, see http://www.fatf-gafi.org/countries/#high-
risk.

       Physical Presence: A place of business that is maintained by a Foreign Bank and is located at a
fixed address, other than solely a post office box or an electronic address, in a country in which the
Foreign Bank is authorized to conduct banking activities, at which location the Foreign Bank: (a)
employs one or more individuals on a full-time basis, (b) maintains operating records related to its



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banking activities and (c) is subject to inspection by the banking authority that licensed the Foreign
Bank to conduct banking activities.

        Proceeds of Municipal Securities: Any of the following: (a) monies derived by a Municipal
Entity from the sale of municipal securities; (b) investment income derived from the investment or
reinvestment of the monies in (a); (c) any monies of a Municipal Entity or obligated person, such as a
guarantor, held in funds under legal documents for the municipal securities that are reasonably expected
to be used as security or a source of payment for the payment of the debt service on the municipal
securities, including, reserves, sinking funds, and pledge funds created for such purposes and (d) the
investment income derived from the investment or reinvestment of monies in such funds.

      Publicly Traded Company: An entity whose securities are listed on a recognized securities
exchange or quoted on an automated quotation system in the U.S. or country other than a Non-
Cooperative Jurisdiction or a wholly-owned subsidiary of such an entity.

        Qualified Plan: A tax qualified pension or retirement plan in which at least 100 employees
participate that is maintained by an employer that is organized in the U.S. or is a U.S. Government
Entity.

         Regulated Affiliate: A Foreign Shell Bank that: (a) is an affiliate of a depository institution, credit
union, or Foreign Bank that maintains a Physical Presence in the U.S. or a foreign country, as
applicable; and (b) is subject to supervision by a banking authority in the country regulating such
affiliated depository institution, credit union, or Foreign Bank.

       Related Person: With respect to any entity, interest holder, director, senior officer, trustee,
beneficiary or grantor of such entity; provided that, in the case of an entity that is a Publicly Traded
Company or a Qualified Plan, the term "Related Person" will exclude any interest holder holding less
than 5% of any class of securities of such Publicly Traded Company and beneficiaries of such Qualified
Plan.

        Senior Foreign Political Figure: A current or former senior official in the executive, legislative,
administrative, military or judicial branches of a non-U .S. government (whether elected or not), a senior
official of a major non-U.S. political party, a senior executive of a non-U.S. government-owned
corporation or other persons entrusted with prominent public functions. In addition, a Senior Foreign
Political Figure includes any corporation, business or other entity that has been formed by, or for the
benefit of, a Senior Foreign Political Figure.

       USA PATRIOT Act: The Uniting and Strengthening America by Providing Appropriate Tools
Required to Intercept and Obstruct Terrorism (USA PATRIOT) Act of 2001 (Pub. L. No. 107-56).




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